080919.0015 .2V .01224361 .001                                                                                      1902902 .Court . 278
              Case 19-02902-5-SWH United
                                   Doc 15States
                                           FiledBankruptcy Court 08/12/19 10:05:45
                                                08/12/19 Entered                       Page 1 of 2
                                                                           19-02902-5-SWH
                                             Eastern District of North Carolina Wilmington Division

                                                                           IN RE
                                                                         FABIO ALICEA
           1902902                                                       801 UNIT 1 BLANCHE AVE
           CHRISTOPHER T. VONDERAU
           LAW OFFICES OF CHRISTOPHER VONDERAU                           CAROLINA BEACH, NC 28428
           4022 SHIPYARD BLVD                                                                  SSN or Tax I.D. XXX-XX-4336
           WILMINGTON, NC 28403                                          ------------------------------
                                                                         SARAH J ZABEK
                                                                         801 UNIT 1 BLANCHE AVE

                                                                         CAROLINA BEACH, NC 28428
           U.S. Bankruptcy Court                                                       SSN or Tax I.D. XXX-XX-1254
           P.O. Box 791                                                  Other Names Used:
           Raleigh, NC 27602




                                                                                     CLAIM NO: - Court - A                       U.S.




                                                 OBJECTION TO CONFIRMATION
                                                   AND MOTION TO DISMISS


    The undersigned Chapter 13 Trustee reports to the Court that the plan of the debtor(s) does not meet the requirements of
    11 USC 1325 in that:
    The debtors are delinquent in the amount of $1,240.00 as of the below date.




    It is requested that the Court enter an Order denying confirmation and dismissing the case, and

    The debtor is hereby notified that unless the debtor(s) file(s) a written request for a hearing within twenty-one (21) days of
    this notice, the Court will summarily dismiss this case without further notice or hearing.




    DATED: August 09, 2019                                          /S/ Joseph A. Bledsoe, III
                                                                    Joseph A. Bledsoe, III
                                                                    Chapter 13 Trustee
                                                                                                               0015
                                  CERTIFICATE
                Case 19-02902-5-SWH                 OF MAILING
                                    Doc 15 Filed 08/12/19 Entered 08/12/19 10:05:45                   Page 2 of 2
CASE: 1902902        TRUSTEE: 2V                       COURT: 278                                        Page 1 of 1
TASK: 08-08-2019 .01224361.BLB014                      DATED: 08/09/2019
Court                         Served Electronically

Trustee                       Joseph A. Bledsoe, III                       P.O. Box 1618
                                                                           New Bern, NC 28563
Debtor                        FABIO ALICEA                                 801 UNIT 1 BLANCHE AVE
                                                                           CAROLINA BEACH, NC 28428
Joint                         SARAH J ZABEK                                801 UNIT 1 BLANCHE AVE
                                                                           CAROLINA BEACH, NC 28428
799             000002        CHRISTOPHER T. VONDERAU       LAW OFFICES OF CHRISTOPHER VONDERAU
                              4022 SHIPYARD BLVD            WILMINGTON, NC 28403
                                                                                      5 NOTICES
         THE ABOVE REFERENCED NOTICE WAS MAILED TO EACH OF THE ABOVE ON 08/09/2019.
         I DECLARE UNDER PENALTY OF PERJURY THAT THE FOREGOING IS TRUE AND CORRECT.
         EXECUTED ON 08/09/2019 BY /S/EPIQ Systems, Inc.

*CM - Indicates notice served via Certified Mail
